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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov

    In re:                                                     Chapter 11

    SHIFTPIXY, INC. et, al.1                                   Case No. 24-21209-LMI

          Debtors.                                             (Jointly Administered)
    _______________________________/

                        NOTICE OF CLOSING DATE AND REQUEST
                   TO ENTER CONVERSION ORDER ON DECEMBER 23, 2024

PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On October 28, 2024 (the “Petition Date”), each of the above-captioned debtors
and debtors in possession (collectively, the “Debtors”) 2 filed a voluntary petition for relief
(collectively, the “Chapter 11 Cases”) under chapter 11 of title 11 of the United States Code (as
amended, the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District
of Florida (the “Court”).

       2.     On December 16, 2024, in accordance with the Bidding Procedures Order [ECF
No. 97] the Court held a hearing to approve the Sale to G3 Business Services LLC pursuant to an
Asset Purchase Agreement [ECF No. 108] and the First Amendment to Asset Purchase Agreement
[ECF No, 138].

        3.     On December 17, 2024, the Court entered its Order (I) Authorizing the Sale of All
or Substantially All of the Debtor's Remaining Assets Free and Clear of All Encumbrances; (II)
Approving the Assumption and Assignment of the Assumed Contracts; and (III) Granting Related
Relief [ECF No. 140] (the “Sale Order”).

             4.   On December 18, 2024, the Sale approved by the Sale Order closed.

      5.     The Debtors are filing this Closing Date Notice pursuant to the Debtor’s Expedited
Motion to Convert Chapter 11 Case to Chapter 7 Upon the Closing of the Sale [ECF No. 109] (the



1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management, Inc.
The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
2
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Sale Order
and/or the Motion to Convert (defined herein).
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“Motion to Convert”) and t respectfully request that the Court enter the Conversion Order on
December 23, 2024, granting the Motion to Convert.

Dated December 22, 2024.                     Respectfully submitted:

                                              DGIM Law, PLLC
                                              Counsel for the Debtors
                                              2875 NE 191st Street, Suite 705
                                              Aventura, FL 33180
                                              Phone: (305) 763-8708

                                             /s/ Isaac Marcushamer
                                             Isaac Marcushamer, Esq.
                                             Florida Bar No. 0060373
                                             Email: isaac@dgimlaw.com
                                             Daniel Y. Gielchinsky, Esq.
                                             Florida Bar No. 97646
                                             Email: dan@dgimlaw.com


                                CERTIFICATE OF SERVICE


       I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF Notification

and/or via U.S. Mail on the 22nd day of December, 2024 to all parties on the attached service list.


                                              /s/ Isaac Marcushamer
                                              Isaac Marcushamer, Esq.
                                              Florida Bar No. 0060373




                                                 2
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                                      SERVICE LIST


Via U.S. Mail to all parties on the attached Mailing List




                                               3
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SendGrid, Inc
1801 California St
Suite 500
Denver, CO 80202

Twillio Inc
101 Spear Street
San Francisco, CA 94105

MongoDB
1633 Broadway 38th Floor
New York, NY 10019

Amazon Web Services, Inc
410 Terry Avenue North
Seattle, WA 98109-5210

GitLab Inc
268 Bush Street #350
San Francisco, CA 94104

GitHub, Inc.
88 Collin P Kelly Jr Street
San Francisco, CA 94107

HelloSign Inc
1800 Owens Street
Suite 200
San Francisco, CA 94158

IBM Corporation
PO Box 534151
Atlanta, GA 30353-4151

Open AI3180
18th Street
San Francisco, CA 94110

Humantiy.com LLC
PO Box 201292
Dallas, TX 75320-1292

Microsoft
One Microsoft Way
Redmond, WA 98052
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OKTA Inc
100 First Street Suite 600
San Francisco, CA 94105

Google Play
1600 Amphitheatre Parkway
Mountain View, CA 94043

Apple Inc
One Apple Park Way
Cupertino, CA 95014

Egnyte, Inc
1350 West Middlefield Road
Mountain View, CA 94043

DreamHost
417 S Associated Rd
Brea, CA 92821

Wordpress.com
60 29th Street #343
San Francisco, CA 94110

EasyDNS Technologies, Inc
4243C Dundas St W
Etobicoke, ON M8X 1Y3
Canada

Sage Intacct
Dept 3237
PO BOX 123237
Dallas, TX 75312-3237

PrismHR
Bank of America Lockbox Services
Box 11145
Chicago, IL 60661

ADP MasterTax
PO Box 830272
Philadelphia, PA 18182-0272

LastPass
125 High St
Suite 220
Boston, MA 02110-2737
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Turn Technologies, Inc
515 N State Street
14th Floor
Chicago, IL 60654

ONE SOURCE TECHNOLOGY LLC
1801 W Olympic Blvd
File 2418
Pasadena, CA 91199-2418

HubSpot Inc
2 Canal Park
Cambridge, MA 02141

JobTarget LLC
600 Summer St 5th Floor
Stamford, CT 06901

HeyMarket
333 Bryant Street
Suite 310
San Francisco, CA 94107-1475

Elegant Themes, Inc
977 W Napa St #1002
Sonoma, CA 95476-4748

Vercel Inc
440 N Barranca Ave
PMB 4133
Covina, CA 91723-1722

Figma
760 Market Street
Floor 10
San Francisco, CA 94102

Traliant Operationg LLC
PO Box 844090
Boston, MA 02284-4090

AppsFlyer Inc
100 1st Street
25th Floor
San Francisco, CA 94105
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Acorn East Packaging Products
16301 NW 15th Avenue
Miami Gardens , FL 33169

B&J Pets & Aquariums, Inc.
601 Delran Parkway
Delran, NJ 08075

Belfor USA Group, Inc.
185 Oakland Ave
Suite 150
Birmingham, MI 48009

Bennett Enterprises, Inc.
25889 Belle Porte Avenue
Harbor City, CA 90710

Century Trade Show Services, Inc.
6421 Pinecastle Blvd.
Ste 1
Orlando, FL 32809

CIF Group International, Inc,
11013 NW 30th Street
Unit #115
Doral, FL 33172

Coastal Handyman Pros.
17632 Metzler Lane
Suite 103
Huntington, CA 92647

Consolidated Burger Holdings
4477 Legendary Drive
Suite 1
Destin, FL 32541

Crane Pumps & Systems
420 Third Street
Piqua, OH 45356

D&W Fine Pack
1900 Pratt Blvd. Elk
Grove Village, IL 60007

Diamondback DTNM
1525 Coors Blvd Nw.
Albuquerque, NM 87121
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Ecology Recycling Services, LLC
16700 Valley View
Suite 340
La Mirada, CA 90638

Evolution Logistics
9800 NW 100TH RD
SUITE 1
Miami, FL 33175

FatSigns Orange
1108 E Katella Ave.
Orange, CA 92867

Florida Smoked Fish, LLC
550 NE 185th Street
Miami, FL 33179

Gamma Seafood Corporation
7850 N.W. South River Drive
Miami, Florida 33166

GL Strategic Staffing, Inc. (or Affiliates)
1709 Banks Rd. Bldg A #5
Margate , FL 33063

Grupo Cementos de Chihuahua
600 S Cherry St. Suite 1000
Glendale, CO 80246

Hyatt Die Cast Engineering
4656 Lincoln Ave
Cypress , CA 90630

Innovative Language Solutions, Inc.
PO Box 681
Oswego, IL 65403

Kingspan Light & Air, LLC
401 E Goetz Ave.
Santa Ana , CA 92707

Kitsuco LLC
2035 SW 31st Ave
Hallandale Beach, FL 33009
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Kosé Corporation
110 Greene Street
Suite 407/8
New York, NY 10012

KW Property Management & Consulting, LLC
8200 NW 33rd Street
Miami, FL 33122

Laurice El Badry Rahme, Ltd.
9 Bond Street
New York, NY 10012

Lewie's Burgers & Brews L.L.C.
711 S. Main Street
Lead, SD 57754

Lions Floor & Affiliates
9435 Sorenson Ave.
Santa Fe Springs, CA 90670

Little Caesar Enterprises, Inc.
2125 Woodward Avenue
Detroit, MI 48201

LSDT, LLC
21300 Victory Blvd
Suite 250
Woodland Hills, CA 97367

Miami Paint Centre
4950 E. Tenth Avenue
Hialeah, FL 33013

National Wire & Cable Corporation
136 San Fernando Road
Los Angeles, CA 90031

Nextant Aerospace
18601 Cleveland Parkway
Cleveland, OH 44135

Nilfisk
9435 Winnetka Ave. N.
Brooklyn Park, MN 55445
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Nothing to Something Commission, LLC
713 W. Canterbry Road
St. Louis , MO 63132

Pactiv Evergreen Group Holdings Inc.
1900 West Field Court
Lake Forest, Illinois 60045

Palmas Restaurant Group
PO Box 22136
Lake Buena Vista, FL 32830

Pasadena Banking Company
70 W. Palmetto Drive
Pasadena, CA 91105

PC International
7300 W 18 lane
Hialeah, FL 33014

Primo Water c/o Advantage xPO
201 East Fourth Street
Suite 800
Cincinnati, OH 45202

Qualawash Holdings, LLC
500 N Westshore Blvd Suite 435
Tampa , FL 33609

Quality Custom Distribution
14317 Lomitas Avenue
La Puente, CA 91746

Quality Importers Trading Company, Inc.
3350 Enterprise Avenue Suite 120.
Weston, FL 33331

Rinker Materials
391 B N. Beach Street
Ft. Worth, TX 76111

SCP Distributors LLC /
Superior Pool Products /
Horizon Distributors "SCP"
109 Northpark Blvd.
Covington, Louisiana 70433
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ServiceMaster DSI
14350 NW 56th Court
Suite 111
Miami FL 33054

Singh & Daughters Property Management LLC
108 Orion Road
Piscataway, NJ 08854

Staff America Health, Inc.
814 E Silver Springs Blvd
Ocala, FL 34470

Superior Tank Company, Inc.
9500 Lucas Ranch Road
Rancho Cucamonga, CA 91730

The Fulfillment Lab
5136 W. Clifton Street
Tampa, FL 33634

The SEED School of Miami
8004 NW 154th Street
Miami Lakes, FL 33016

Town Centre Technologies, LLC
9075 Town Centre Drive
Broadview Heights, OH 44147

Ullrich's Cleaning Services LLC
708 interstate Business Park
Fredricksburg, VA 22405

ULS US LLC
3042 NW 73rd Street
Miami, FL 33147

Unbrako USA LLC
102 S. 28th Street
Phoenix, AZ 85034

US Wellness, Inc.
20400 Observation Drive
Suite 100
Germantown, MD 20876
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USA Up Star
1760 Industrial Drive
Greenwood, IN 46143

V-Ensley LLC | Welch & Edwards Group
7241 Parma Park Blvd.
Parma, OH 44130

Verisk c/o PRO Unlimited, Inc
1150 Iron Point Road
Suite 100
Folsom, CA 95630

Vertex Global Solutions
275 Madison Avenue
New York, NY 10016
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Label Matrix for local noticing                Balanced Management, LLC                       Century Tacos, Inc.
113C-1                                         1800 Second St.                                c/o Leyza B. Florin, Esq.
Case 24-21209-LMI                              Unit 603                                       Sequor Law
Southern District of Florida                   Sarasota, fl 34236-5990                        1111 Brickell Avenue
Miami                                                                                         Suite 1250
Mon Dec 2 14:16:19 EST 2024                                                                   Miami, FL 33131-3133
Foundry ASVRF Sawgrass, LLC                    Golden Taco, Inc.                              Los Angeles West Taco, Inc.
c/o Michael S. Provenzale                      c/o Leyza B. Florin, Esq.                      c/o Leyza B. Florin, Esq.
P.O. BOX 2809                                  Sequor Law                                     Sequor Law
ORLANDO, FL 32802-2809                         1111 Brickell Avenue                           1111 Brickell Avenue
                                               Suite 1250                                     Suite 1250
                                               Miami, FL 33131-3133                           Miami, FL 33131-3133
Pacific Coast Taco, Inc.                       ReThink Human Capital Management, Inc          ShiftPixy Staffing, Inc
c/o Leyza B. Florin, Esq.                      4101 NW 25th Street                            4101 NW 25th Street
Sequor Law                                     Miami, FL 33142-6725                           Miami, FL 33142-6725
1111 Brickell Avenue
Suite 1250
Miami, FL 33131-3133
ShiftPixy, Inc.                                Tacos 2000, Inc.                               (p)INTERNAL REVENUE SERVICE
4101 NW 25 Street                              c/o Leyza B. Florin, Esq.                      CENTRALIZED INSOLVENCY OPERATIONS
Miami, FL 33142-6725                           Sequor Law                                     PO BOX 7346
                                               1111 Brickell Avenue                           PHILADELPHIA PA 19101-7346
                                               Suite 1250
                                               Miami, FL 33131-3133
4te Inc                                        A & A Ornamental, Inc                          ADP/MASTER TAX
PO Box 4048,                                   18731 SW 87th Ave                              MasterTax, LLC
Mission Viejo, CA, 92690-4048                  Cutler Bay, FL 33157-7224                      111 W. Rio Salado Parkway,
                                                                                              Tempe, AZ 85281-2878


AGP/ALLIANCE GLOBAL PARTNERS                   ALLIED SPORTS LLC                              AMWINS GROUP BENEFITS
590 MADISON AVE,                               PO BOX 845785                                  PO BOX 71051,
NEW YORK, NY 10022-2524                        BOSTON, MA, 02284-5785                         CHARLOTTE, NC, 28272-1051



ANKURA                                         ARRAY                                          ARTHUR J GALLAGHER RK MGMT SRV
201 E WASHINGTON ST, SUITE 1700,               624 S AUSTIN AVE,                              PO BOX 532143,
PHOENIX, AZ 85004-2245                         SUITE 230,                                     ATLANTA, GA 30353-2143
                                               GEORGETOWN, TX, 78626-5758


AT&T                                           Alpha Capital Anstalt                          AmWINS Specialty Casualty Solutions
PO Box 6463,                                   c/o LH Financial                               10 S LaSalle St, Suite 1500,
Carol Stream, IL, 60197-6463                   510 Madison Avenue                             Chicago, IL 60603-1077
                                               14th Floor
                                               New York, NY 10022-5730

American Recruiting & Consulting Group         AppsFlyer                                      Arizona Department of Economic Security
2200 N Commerce Pkwy, Suite 200,               100 1 ST St, 25th FL,                          PO Box 6028, Mail Drop 5881,
Weston, FL 33326-3258                          San Francisco, CA 94105-3082                   Phoenix, AZ 85005-6028



Arizona Department of Revenue                  Arondight Advisors                             Asurint
PO Box 29085,                                  120 Wall St,                                   File 2418,
Phoenix, AZ 85038-9085                         New York, New York 10005-3904                  1801 W Olympic Blvd,
                                                                                              Pasadena, CA 91199-0001
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Audio Video Cameras Serv Corp                  BAKER TILLY US, LLP                                BEST OFFICE COFFEE SERVICES
AUDIO VIDEO CAMERA & SERVICES CORP.            PO Box 511563,                                     13130 SW 130 TERRACE,
3600 W PALM CT, HIALEAH, FL 33012              Los Angeles, CA, 90051-8118                        MIAMI, FL 33186-5895



BREX CC                                        BREX GHOST KITCHEN                                 BTERREL GROUP
Brex Payments LLC                              650 S 500 W Suite 300                              4324 Mapleshade Ln, Suite 103,
650 S 500 W., Suite 300,                       Salt Lake City, UT 84101-2891                      Plano, TX 75093-0050
Salt Lake City, UT 84101-2891


BUSINESS WIRE DEPT 34182                       BairesDev LLC                                      BairesDev LLC
PO BOX 39000,                                  800 W El Camino                                    c/o Tyler R. Dowdall, Esq.,
SAN FRANCISCO, CA 94139-0001                   Mountain View, CA 94040-2567                       Tarter Krinsky & Drogin, LLP,
                                                                                                  1925 Century Park East, Suite 400N,
                                                                                                  Los Angeles, California 90067-2701

Balanced Management                            Balanced Management, LLC                           Balanced Management, LLC
Registered Agents Inc.                         10880 Wilshire Blvd. 19th Floor                    1682 Pintail Way
7533 S. Center View CT                         Los Angeles, CA 90024-4101                         Sarasota, FL 34231-9136
Ste R
West Jordan, UT 84084-5526

Balanced Management, LLC                       Balanced Management, LLC                           Balanced Management, LLC
26 S. Rio Grande St. #2072                     3017 Bolling Way NE                                315 E 62 floor 3
Salt Lake City Utah 84101-1179                 Atlanta, GA 30305-2205                             New York, NY 10065-7767



Balanced Management, LLC                       Berkowitz Pollack Brant Advisors CPA               Bright Labs Services LLC
441 Lexington Ave                              PO Box 735244,                                     485 Lexington Ave 10th FL,
18th Floor                                     Dallas, TX, 75373-5244                             New York, NY, 10017-2619
New York, NY 10017-3924


(p)BROADRIDGE FINANCIAL SOLUTIONS              Broadridge ICS                                     CDW DIRECT
1155 LONG ISLAND AVENUE                        PO BOX 416423,                                     200 N. MILWAUKEE AVE,
EDGEWOOD NY 11717-8309                         BOSTON, MA, 02241-6423                             VERNON HILLS, IL 60061-1577



CINTAS                                         CK Administrative Services LLC                     CT Corporation
PO BOX 631025                                  777 S Figueroa Street,                             PO Box 4349
CINCINNATI, OH, 45263-1025                     Suite 4100                                         Carol Stream, IL 60197-4349
                                               Los Angeles, CA 90017-5841


CUSIP GLOBAL SERVICES                          Calabrese Consulting LLC                           California Employment Development Department
55 WATERS ST,                                  24 North King Street,                              3321 Power Inn Road,
NEW YORK, NY 10041-0016                        Malverne, NY 11565-1002                            Suite 140, #759
                                                                                                  Sacramento, CA 95826-3893


California Employment Development Department   California Employment Development Department       Call & Jensen
PO Box 989061,                                 PO Box 997418 Sacramento, CA 95899                 810 Newport Center Dr
West Sacramento, CA 95798-9061                                                                    Newport Beach, CA 92660
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Call & Jensen                                Chirstopher A Sebes                                Christopher A Sebes
810 Newport Center Dr, Suite 700,            5730 Claridon Drive                                5730 Claridon Drive,
Newport Beach, CA, 92660                     Naples, FL 34113-8385                              Naples, FL 34113-8385



Cloudflare, Inc                              DC Office of Tax and Revenue- Compliance Adm       DGA SECURITY
Mail Code: 5267,                             1101 4th Street SW,                                429 WST 53RD STREET
PO Box 660367,                               Washington, DC 20024-4457                          NEW YORK, NY 10019-5791
Dallas, TX, 75266-0367


Discount Edgar                               Dominion Capital, LLC                              Doug Greene
125 Wolf Road, Suite 315,                    341 West 38th Street                               6805 Ingalls Court,
Albany, NY 12205-1221                        Suite 800                                          Galena, OH, 43021
                                             New York, NY 10018-9686                            ipCapital Group Inc
                                                                                                426 Industrial Ave, Suite 150,
                                                                                                Willston, VT, 05495-4459
Drexel Hamilton, LLC                         EL TORO LLC                                        ELITE AUDIO VIDEO OF SO FL
77 Water ST                                  552 E MARKET STREET,                               12241 SW 185TH ST,
New York, NY 10005-4420                      LOUISVILLE, KY 40202-7111                          MIAMI, FL 33177-3181



ELITE BUSINESS VENTURES                      ENCORE                                             EQUISOLVE
PO BOX 6510,                                 EVENT TECHNOL CEASARS PALACE,                      3500 SW Corporate Pkwy,
PASADENA, CA 91109-6500                      8850 W SUNSET RD, 3RD FL,                          Palm City, FL 34990-8185
                                             LAS VEGAS, NV 89148-4897


Eduardo J. Dominguez                         Email Outreach Company                             Empire Marketing Ventures LLC
5778 Devonshire Blvd.                        651 N Broad St, Suite 206,                         383 Madison Ave,
Miami, FL 33155-4062                         Middletown, Delaware 19709-6402                    New York, NY 10017-3217



Employment Development Department            Enlyte                                             FL POWER HOUSE
722 Capitol Mall                             PO Box 88026,                                      2310 NW 102ND PLACE
Sacramento, CA 95814-4703                    Chicago, IL 60680-1026                             DORAL, FL 33172-2517



FLORIDA POWER AND LIGHT                      FLORIDA POWER AND LIGHT FPL                        FRANCHIMP LTD
21400 Powerline Road                         General Mail Facility                              Kristine M Rogalewski-Mayo
Boca Raton, FL 33433-2312                    Miami, FL 33188-0001                               18531 N Steet,
                                                                                                Scottsdale, AZ, 85255


First Impulse                                Fisher Phillps LLP                                 Fisher Phillps LLP
18 Goodyear, Suite 125,                      2050 Main St                                       2050 Main St, Suite 1000,
Irvine, CA 92618-3750                        Irvine, CA 92614-8255                              Irvine, CA 92614-8240



Florida Department of Revenue                Florida Department of Revenue                      Florida Department of Revenue
2450 Shumard Oak Blvd                        5050 West Tennessee Street,                        Miami Service Center
Tallahassee, FL 32399-7022                   Tallahassee, FL 32399-0100                         3750 NW 87th Avenue, Suite 300,
                                                                                                Doral, FL 33178-2430
                                 Case 24-21209-LMI      Doc 152          Filed 12/22/24       Page 16 of 23
GITLAB INC                                     GUMMICUBE, INC                                     GUROCK
PO BOX 8244,                                   50 E ST JOHN ST,                                   0801 N Mopac Expressway,
PASADENA, CA, 91109-8244                       SAN JOSE, CA 95112-5596                            Building 1, Suite 100,
                                                                                                  Austin, TX, 78759


Gallagher Bassett                              Gentry Partnership In                              Gentry Partnership, Inc
Services, Inc                                  11523 Palmbrush Trail, Suite 193,                  11523 Palmbrush Trail
15763 Collections                              Lakewood Ranch, FL 34202-2917                      Bradenton, FL 34202-2917
Center Drive,
Chicago, IL 60693-0001

Gordon Rees Scully Mansukhani, LLP             Grasso Global Inc                                  HEISE SUAREZ MELVILLE, P.A.
275 Battery Street, 20th Fl,                   Levinson Arshonsky Kurtz & Komsky LLP              2990 Ponce de Leon Blvd, Suite 300,
San Francisco, CA 94111-3367                   15303 Ventura Blvd, Suite 1650,                    Coral Gables, FL 33134-6803
                                               Sherman Oaks, CA 91403-6620


HUB International Insurance Services Inc       Huggins Actuarial Services Inc                     ICR LLC
16030 Venture Blvd,                            111 Veterans Square, Third Floor,                  761 Main Ave
Suite 500,                                     Media, PA 19063-3292                               Norwalk, CT 06851-1080
Encino, CA 91436-2766


INTRADO DIGITAL MEDIA, LLC                     IOWA Workforce Development Unemployment Insu       IPFS Corporation
C/O INTRADO CORPORATION,                       1000 E Grand Avenue,                               3522 Thomasville Rd
PO BOX 74007143,                               Des Moines, IA 50319-0220                          Tallahassee, FL 32309-3488
CHICAGO, IL, 60674-7143


IPFS Corporation                               IPFS Corporation 3522                              IRS
3522 Thomasville Rd,                           Thomasville Rd                                     Worland, WY 82401
Suite 400,                                     Tallahassee, FL 32309
Tallahassee, FL 32309-3488


Idaho Department of Labor- Collection Enforc   Idaho State Tax Commission                         Idaho State Tax Commission
Unit 317 W Main Street,                        11321 W Chinden Blvd,                              PO Box 36,
Boise, ID 83735-0001                           Boise ID 83714-1021                                Boise, ID 83722-0036



Illinois Department of Employment Security     (p)ILLINOIS DEPARTMENT OF REVENUE                  Innovative Coverage Concepts LLC
Revenue Collection Enforcement Unit            BANKRUPTCY UNIT                                    c/o Arthur J Gallagher & Co,
33 S State Street, 10th Floor,                 PO BOX 19035                                       200 Jefferson Park,
Chicago, IL 60603-2808                         SPRINGFIELD IL 62794-9035                          Ste 110 - 200,
                                                                                                  Whippany, NJ 07981-1076

IntacctDept 3237,                              Internal Revenue Service                           Internal Revenue Service Centralized Insolve
PO Box 123237,                                 Centralized Insolvency Operation                   PO Box 7317
Dallas, TX, 75312-3237                         PO Box 7317                                        Philadelphia, PA 19101-7317
                                               Philadelphia, PA 19101-7317


J David Tax Law LLC                            JOBOT, LLC                                         Judith Simpson
7077 Bonneval Road, Suite 200,                 18575 JAMBOREE RD, SUITE 600,                      1939 Festival Court
Jacksonville, FL 32216-6073                    IRVINE, CA 92612-2554                              Joliet, IL 60435
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KARLINSKY LLC                                  KPA SERVICES LL                                Kansas Department of Revenue
103 Mountain Rd                                PO Box 83301,                                  Division of Taxation
Cornwall On Hudson, NY 12520-1802              Woburn, MA, 01813-3301                         12 SE 10th Avenue,
                                                                                              Topeka KS 66625-0001


Kansas Department of RevenueDivision of Taxa   Kenneth Weaver                                 Klein & Wilson
PO Box 3506, Avenue,                           901 Riverside Drive                            4770 Von Karman,
Topeka, KS 66601-3506                          Old Hickory, TN 37138-3150                     Newport Beach, CA 92660-2123



LANIER PARKING                                 LEAPROS WORKFORCE SOLUTIONS                    LOEB & LOEB LLP
647 BRICKELL KEY DR, SUITE 1,                  PO BOX 432,                                    345 PARK AVE,
MIAMI, FL 33131-2622                           HUNTINGTON BEACH, CA 92648-0432                NEW YORK, NY 10154-1895



Lamb McErlane PC                               Launay Patrice, PEJ CONSULTING                 Lemke Mediation
24 E. Market St, PO Box 565,                   1560 Sawgrass Corporate Pkwy,                  515 S Flower St, Suite 1800,
West Chester, PA 19381-0565                    4th FL Suite 423-C,                            Los Angeles, CA 90071-2231
                                               Sunrise, FL 33323-2858


LexisNexis                                     Lowenstein Sandler LLP                         Lowenstein Sandler LLP
28544 Network Place,                           Attn: William B. Farrell                       One Lowenstein Drive
Chicago, IL, 60673-1285                        One Lowenstein Drive                           Roseland, NJ 07068-1791
                                               Roseland, NJ 07068-1791


Lowenstein Sandler LLP                         Lydecker LLP                                   MEF I, LP
One Lowenstein Drive,                          1221 Brickell Ave, 19th FL,                    40 Wall Street
Roseland, New Jersey 07068-1791                Miami, FL 33131-3240                           New York, NY 10005-1304



MELTWATER NEWS U                               MILNER - USAGE                                 MILNER INC
Dept LA 23721,                                 PO BOX 923197,                                 PO BOX 105743
Pasadena, CA, 91185-3721                       NORCROSS, GA, 30010-3197                       ATANTA, GA, 30348-5743



MILNER INC - BRICKELL                          MINERAL INC                                    MINTZ
PO BOX 41602,                                  6701 Koll Center Parkway, Suite 430,           666 Third Avenue
PHILADELPHIA, PA, 19101-1602                   PLEASANTON, CA 94566-8065                      New York, NY 10017-4011



MINTZ                                          Marcum & Kliegman LLP                          Marcum & Kliegman LLP
Chrysler Center,                               750 Third Ave                                  750 Third Ave 11th FL,
666 Third Avenue,                              New York, NY 10017-2703                        New York 10017-2716
New York, NY 10017-4011


Mark , Your Extended Office                    Marlins Baseball                               Marquis Aurbach Chtd
No. 128 SRP Koil Street South,                 501 Marlins Way,                               10001 Park Run Drive,
Jawahar Nagar, Chennai, 600 082, India         Miami, FL 33125-1121                           Las Vegas, NV 89145-8857
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Martin Scott                                   Massachusetts Department of Revenue                Meadows Collier Attorney At Law
19180 Skyridge Circle,                         100 Cambridge Street,                              901 Main Street, Suite 3700,
Boca Raton, FL 33498-6212                      Boston, MA 02204-0001                              Dallas, TX 75202-3742



Media Network Consultants LLC                  (p)MEDIANT COMMUNICATIONS INC                      MetLife Group Benefits
13245 Lower Harden Ave                         ATTN ATTN JOSEPH SIMONOWICH                        PO Box 804466,
Orlando, FL 32827-7221                         400 REGENCY FOREST DRIVE                           Kansas City, MO,
                                               SUITE 200                                          64180-4466
                                               CARY NC 27518-7703

Miami-Dade Office of the Tax Collector         Michigan Department of Treasury                    Michigan Department of Treasury
Tangible Personal Property                     City Tax Administration                            PO Box 30756,
200 NW 2nd Avenue, Miami, FL 33128             P.O. Box 30756                                     Lansing, MI 48909-8256
                                               Lansing, MI 48909-8256


Minesota Deptment of Revenue                   Missouri Department of Revenue                     Morris, Nichols, Arsht & Tunnell LLP
Collection Division                            Taxation Division                                  1201 N Market St, 16th FL, PO Box 1347,
PO Box 64651,                                  PO Box 3375,                                       Wilmington, DE, 19899-1347
Saint Paul, MN 55164-0651                      Jefferson City, MO 65102-3375


NASDAQ                                         NATPAY                                             NOW CFO NEWPORT BEACH
51 West 42nd Street, Floors 26, 27, 28,        3415 W Cypress St,                                 5251 S Green Street,
New York, NY 10036                             Tampa, FL 33607-5007                               Suite 350,
                                                                                                  Murray, UT, 84123


Nasdaq Corporate                               National Payment Corporation                       Navarro Hernandez P
Solutions, LLC                                 3415 W Cypress Street                              66 W Flagler St 6th FL,
PO Box 780700,                                 Tampa, FL 33607-5007                               Miami, FL 33130-1884
Philadelphia, PA,
19178-0700

New Benefits                                   New Jersey Department of Labor and Workforce       New Jersey Department of Labor and Workforce
Alexandra Gonzalez Zabala                      Delinquency Unit                                   Division of Employer Accounts
Judith Simpson                                 PO Box 932,                                        PO Box 059,
1839 Festival Court,                           Trenton, NJ 08625-0932                             Trenton, NJ 08646-0001
Joliet, IL 60435-3785

New Jersey Department of the Treasury          New Mexico Department of Workforce Solutions       New Mexico Taxation & Revenue
Division of Taxation                           PO Box 1928,                                       PO Box 25128,
PO Box 1009,                                   Albuquerque, NM 87103-1928                         Santa Fe, NM 87504-5128
Moorsetown, NJ 08057-0909


New York Department of Labor- Unemployment I   New York Department of Labor- Unemployment I       New York Department of Labor- Unemployment I
Enforcement Unit                               PO Box 15012                                       PO Box 4301
PO Box 4305                                    Albany, NY 12212-5012                              Brimingham, NY 13902-4301
Binghamton, NY 13902-4305


New York Department of Taxation and Finance    New York Employment Contributions and Taxes        New York State Department of Taxation & Fina
Civil Enforecement Division - Offset Uni       PO Box 4119                                        Bankruptcy Section
Albany NY 12227-0001                           Binghamton, NY 13902-4119                          P O Box 5300
                                                                                                  Albany, NY 12205-0300
                                  Case 24-21209-LMI     Doc 152          Filed 12/22/24   Page 19 of 23
Norman S Gerstein PA                           (p)OKTA INC                                    OSBORN MALEDO
5966 S. Dixie Highway, Suite 300,              100 FIRST STREET                               2929 N CENTRAL AVE, 21 FLOOR,
Miami, FL 33143-5177                           SUITE 600                                      PHOENIX, AZ 85012-2782
                                               SAN FRANCISCO CA 94105-3513


Office of the US Trustee                       Okin Pest Control                              Oklahoma Tax Commission
51 S.W. 1st Ave.                               2170 Piedmont Rd NE                            Oklahoma City, OK 73194-0001
Suite 1204                                     Atlanta, GA, 30324-4135
Miami, FL 33130-1614


Oppenheim Insurance Broker Inc.                Osborn Maledon                                 Osher Capital Partners, LLC
23742 Lyons Ave,                               2929 N Central Ave                             c/o LH Financial
PO Box 220957,                                 Phoenix, AZ 85012-2793                         510 Madison Ave
Newhall, CA 91322-0957                                                                        14th Floor
                                                                                              New York, NY 10022-5730

PETTIT KOHN                                    Payne & Fears LLP                              Payne & Fears LLP
11622 EL CAMINO REAL, SUITE 300,               4 Park Plaza                                   4 Park Plaza, Suite 1100,
SAN DIEGO, CA 92130-2051                       Irvine, CA 92614-8550                          Irvine, CA 92614-8550



Pennsylvania Department of Labor & Industry    Philadelphia Ins Co                            Pitney Bowes
Office of Unemployment Compensation Tax        PO BOX 70251,                                  PO Box 371874,
651 Boas Street, Room 915,                     PHILADELPHIA, PA, 19176-0251                   Pittsburgh, PA, 15250-7874
Harrisburg, PA 17121-0751


Plant Care                                     Premier Produce                                Prequin Limited
PO Box 50115,                                  2672 SW 36th St                                1st Floor, Verde, 10 Bressenden Place,
Lighthouse Point, FL 33074-0115                Dania Beach, FL 33312-5005                     London, United Kingdom,
                                                                                              SW1E 5DH, United Kingdom


PrismHR                                        Professional Window Tinters                    QB Animation Inc
PO BOX 844768,                                 7385 Bird Rd (40th St)                         320 Lighthouse Drive,
Boston, MA 02284-4759                          Miami, FL, 33155                               Palm Beach Gardens, FL 33410-4835



RB INTERNATIONAL                               RUNWAY 1 LLC                                   Restaurant Finance Monitor
SUPPLY CORP                                    250 Greenpoint Ave,                            2808 Anthony Lane South,
7265 NW 44TH ST                                Brooklyn, NY 11222-2493                        Minneapolis, MN 55418-3234
MIAMI, FL 33166-6418


Richard DeBeikes                               Rose, Snyder & Jacobs LLP                      Rose, Snyder & Jacobs LLP
23241 Ventura Blvd Ste 224C,                   15821 Ventura Blvd                             15821 Ventura Blvd, Suite 490,
Woodland Hills, CA 91364-1042                  Encino, CA 91436-4778                          Encino, CA 91436-4778



Roxborough Pomerance NYE & Adreani             Roxborough Pomerance NYE & Adreani             SICHENZIA ROSS FERENCE LLP
5820 Canoga Ave                                5820 Canoga Ave, Suite 250,                    1185 AVE OF THE AMERICAS,
Woodland Hills, CA 91367-6549                  Woodland Hills, CA 91367-6549                  31ST FLOOR,
                                                                                              NEW YORK, NY 10036-2612
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STERICYCLE                                   SUNZ INSURANCE                                Say Technologies LLC
28883 NETWORK PLACE,                         1301 6th Ave W,                               85 Willow Road
CHICAGO, IL, 60673-1288                      Bradenton, FL 34205-7410                      Menlo Park, CA 94025-3656



SearchGeeks                                  Securities and Exchange Commission            Securities and Exchange Commission
701 Palomar Airport Rd. #170,                100 F Street, NE,                             801 Brickell Avenue
Carlsbad CA 92011-1045                       Washington, DC 20549-2001                     Suite 1950
                                                                                           Miami, FL 33131-4901


Slavic 401K                                  Slavic Integrated Administration              SolutionCore Inc
1075 Broken Sound Pkwy NW, Suite 100,        1075 NW Brkn Snd Pkway, Ste 100,              9742 Hibiscus Drive,
Boca Raton, FL, 33487-3540                   Boca Raton, FL,                               Garden Grove, CA 92841-1717
                                             33487-3540


Specialty Marketing Consulting Inc           Sperling & Slater PC                          Sports1ternship, LLC
c/o Kimberly Peters,                         55 West Monroe Street, Suite 3200,            23 Rancho Circle,
PO Box 6700,                                 Chicago, IL 60603-5035                        Lake Forest, CA 92630-8324
Pine Mountain Club, CA 93222-6700


Sportslternship, LLC                         Staff Benefits                                Stifel Financial
23 Rancho Circle                             Management, Inc                               510 N. Broadway
Lake Forest, CA 92630-8324                   2307 FENTON PARKWAY #107-126,                 Saint Louis, MO 63102
                                             San Diego, CA 92108-4746


SullivanCurtisMonroe Ins Serv LLC            TEKWORKS                                      TENNESSE DEPT OF REVENUE
1920 Main St, Suite 600,                     13000 Gregg Street,                           500 DEADERICK ST, ANDREW JACKSON ST OFFI
Irvine, CA 92614-7226                        Poway, CA 92064-7151                          NASHVILLE, TN 37242-0001



TMF SERVICES HONDURAS                        TRUSAIC                                       Tennessee Department of Labor & Workforce De
Colonia Lomas del Guijarro Sur,              3530 WILSIRE BLVD, SUITE 1460,                Employment Security Division,
Domicilio Alquilado, Contiguoa Plaza Fic     LOS ANGELES, CA 90010-2334                    Employer Accounts Audit
5to Nivel. Tegucigalpa M.D.C. Honduras                                                     220 French Landing Drive,
                                                                                           Nashville, TN 37243-1002

Toppan Merrill LLC                           Traliant Operating LLC                        Trenan Law
PO BOX 74007295,                             PO Box 844090,                                PO Box 1102,
CHICAGO, IL 60674-7295                       Boston, MA 02284-4090                         Tampa, FL, 33601-1102



UNITED HEALTHCARE                            US FOODS                                      VERIFONE INC
PO BOX 111111,                               PO BOX 281838                                 c/o Colliers Int’l Lease Admin,
NEW TOWN, MO, 93195-9782                     BOCA RATON, FL, 30384-1838                    301 University Ave, Ste 100,
                                                                                           Sacramento, CA 95825-5537


VERITEXT, LLC                                VIA Design Studio                             Virginia Department of Taxation
PO BOX 71303,                                103 Westward Drive                            PO Box 1115.
CHICAGO, IL, 60694-1303                      Miami, FL 33166-5257                          Richmond, VA 23218-1115
                                  Case 24-21209-LMI           Doc 152          Filed 12/22/24      Page 21 of 23
Virginia Department of Taxation                      WASTE MANAGEMENT INC FL                              WHITE & CASE
PO Box 1777,                                         8801 NW 91ST STREET,                                 SE FINANICAL CTR STE 4900,
Richmond, VA 23218-1777                              MEDLEY, FL 33178-1815                                200 S BISCAYNE BLVD,
                                                                                                          MIAMI, FL, 33131-2352


WORKIVA                                              White & Case                                         Whitney White
2900 UNIVERSITY BLVD,                                SE Financial Ctr Ste                                 100 Albert Way 08540-3202
AMES, IA 50010-8665                                  4900 Miami, FL 33131



Whitney White                                        Widgets & Web LLC                                    eFax Corporate
100 Albert Way, Apt 1417,                            19500 194th Trl,                                     C/O J2 Cloud Services LLC,
Princeton, NJ 08540-3215                             Golden Beach, FL, 33160                              PO BOX 51873,
                                                                                                          LOS ANGELES, CA, 90051-6173


nFusion Capital Finance LLC                          Daniel Gielchinsky                                   Eric Rubin
6444 Burnet Rd Unit 100,                             2875 NE 191st Street                                 Moecker Auctions Inc
Austin, TX 78757-3252                                Suite 705                                            1885 Marina Mile Blvd #103
                                                     Aventura, FL 33180-2803                              Ft. Lauderdale, FL 33315-2243


Isaac M Marcushamer Esq.                             Jonathan Feldman                                     Manny Rivera
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Suite 705                                                                                                 Boca Raton, FL 33431-8530
Aventura, FL 33180-2803

Mark Absher                                          Robert Angueira                                      Scott Absher
c/o Shraiberg Page P.A.                              c/o Paul Steven Singerman                            c/o Shraiberg Page P.A.
2385 NW Executive Center Dr., #300                   Berger Singerman LLP                                 2385 NW Executive Center Dr., #300
Boca Raton, FL 33431-8530                            1450 Brickell Avenue                                 Boca Raton, FL 33431-8530
                                                     Suite 1900
                                                     Miami, FL 33131-5319


                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


United States of America Internal Revenue Se         Broadridge Financial Solutions                       (d)IRS - Department of the Treasury
c/o Raychelle A. Tasher                              1155 long Island Avanue                              Ogen, UT 84201
99 NE 4 St. # 300                                    Edgewood, NY 11717
Miami, FL 33132


Illinois Department of Revenue                       Mediant                                              (d)Mediant Communications Inc.
PO Box 19006,                                        Communications Inc.                                  400 Regency Forest Drive
Springfield, IL 62794                                PO BOX 29976,                                        Suite 200
                                                     NEW YORK, NY, 10087-9976                             Cary, NC 27518


OKTA INC
100 FIRST STREET, SUITE 600,
SAN FRANCISCO, CA, 94105
                                  Case 24-21209-LMI             Doc 152        Filed 12/22/24      Page 22 of 23


                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Sunz Insurance Solutions, LLC                     (u)Miami                                             (d)A & A Ornamental, Inc
                                                                                                          18731 SW 87th Ave,
                                                                                                          Cutler Bay, FL 33157-7224



(d)ALLIED SPORTS LLC                                 (d)CINTAS                                            (d)CK Administrative Services LLC
PO BOX 845785,                                       PO BOX 631025,                                       777 S Figueroa Street, Suite 4100,
BOSTON, MA, 02284-5785                               CINCINNATI, OH, 45263-1025                           Los Angeles, CA 90017-5841



(d)CT Corporation                                    (d)DGA SECURITY                                      (d)FL POWER HOUSE
PO Box 4349,                                         429 WST 53RD STREET,                                 2310 NW 102ND PLACE,
Carol Stream, IL,                                    NEW YORK, NY 10019-5791                              DORAL, FL 33172-2517
60197-4349


(d)ICR LLC                                           (d)KARLINSKY LLC                                     (d)Kenneth Weaver
761 Main Ave,                                        103 Mountain Road,                                   901 Riverside Drive,
Norwalk, CT 06851-1080                               Cornwall-On-Hudson, NY 12520-1802                    Old Hickory, TN 37138-3150



(d)MILNER INC                                        (d)MILNER INC BRICKELL                               (d)MILNER USAGE
PO BOX 105743,                                       PO BOX 41602                                         PO BOX 923197
ATANTA, GA, 30348-5743                               PHILADELPHIA, PA, 19101-1602                         NORCROSS, GA, 30010-3197



(d)Media Network Consultants LLC                     (d)Premier Produce                                   (d)Professional Window Tinters
13245 Lower Harden Ave,                              2672 SW 36th St,                                     7385 Bird Rd (40th St),
Orlando, FL 32827-7221                               Dania Beach, FL 33312-5005                           Miami, FL, 33155



(d)RB INTERNATIONAL SUPPLY CORP                      (d)Securities and Exchange Commission                (d)Sunz Insurance
7265 NW 44TH ST,                                     100 F. Street NE                                     1301 6th Ave W
MIAMI, FL 33166-6418                                 Washington, DC 20549-2001                            Bradenton, FL 34205-7410



(d)US FOODS                                          (d)VIA Design Studio                                 (d)WORKIVA
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BOCA RATON, FL, 30384-1838                           Miami, FL 33166-5257                                 Ames, IA 50010-8665



(d)White & Case                                      (d)Whitney White                                     (u)Richelle Kalnit
SE Financial Ctr Ste 4900                            100 Albert Way 08540                                 Hillco IP Services LLC
Miami, FL 33131
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End of Label Matrix
Mailable recipients   257
Bypassed recipients    27
Total                 284
